Case 7:97-cr-00024-MFU     Document 614 Filed 09/24/13                 Page 1 of 1 Pageid#:
                                      352                                     CLERR OFFICE U.S,DISm r-nllr
                                                                                      AT ROANOKE,VA
                                                                                           FILED

                                                                                     sEP 2# 2913
                   IN TH E UN ITED STATE S D ISTR ICT C O U RT
                                                                                   JULIA C.     ,
                  FOR THE W ESTERN DISTRICT OF VIRGINIA                           BY:
                              ROANOKE DIVISIO N                                        DE        R

OBADYA HANIFIABED                              CivilCaseNo.7:01cv00356
                                               Crim inalCaseNo.7:97cr00024-5

V.                                             FINAL ORDER

U NITED STATE S O F AM E RIC A                 By:Sam uelG .W ilson
                                               U nited StatesD istrictJudge

      In accordance with thiscourt'smem orandum opinion entered thisday,itis ORDERED

and ADJUDGED thatAbed'smotion(ECFNo.13)isCONSTRUED asamotiontovacate,set
aside,orcorrectsentence,pursuantto 28 U.S.C.j2255,and theClerk isdirected to FILE the
motion assuch;the j2255 motion isDISM ISSED withoutprejudice assuccessive;and the
case isSTRICK EN from theadivedocket.

      Further,the courttinds thatAbed hasnotm ade the requisite showing ofthe substantial

denialofaconstitutionalrightasrequiredby 28U.S.C.j2253/)and,therefore,acertiticateof
appealability isDENIED .
      ENTER:Thi' t/àdayorseptember,2013.                    A'
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                                                                        Me
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                                                       /         .z'



                                               U 'e    atesD istrictJudge
